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                                                                     April 4, 2025
                                                                     Via ACMS filing

              Ms. Molly C. Dwyer
              Clerk of the Court
              U.S. Court of Appeals for the Ninth Circuit
              P.O. Box 193939
              San Francisco, CA 94119-3939

                         Re:     Washington v. Trump, 25-807:
                                 Letter regarding Amicus Brief

              Dear Ms. Dwyer:

                    Pursuant to the Ninth Circuit Advisory Committee Note to Ninth Circuit
              Rule 29-1, amici America’s Future, Gun Owners of America, Gun Owners of
              California, Gun Owners Foundation, Citizens United, U.S. Constitutional Rights
              Legal Defense Fund, Leadership Institute, and Conservative Legal Defense and
              Education Fund hereby join in the arguments set forth in the Brief of Defendants-
              Appellants filed in the above-referenced action on March 7, 2025. These amici
              also hereby incorporate the arguments made in their amicus brief in support of
              the motion for stay which was submitted with a motion for leave to file on
              February 17, 2025, which motion this Court granted on February 18, 2025.

                                                                     Respectfully submitted,

                                                                     /s/ Jeremiah L. Morgan
                                                                     Jeremiah L. Morgan
                                                                     Counsel for Amici Curiae America’s
                                                                     Future, et al.
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                                         CERTIFICATE OF SERVICE

                        IT IS HEREBY CERTIFIED that service of the foregoing Letter Joining

              Amicus Brief, was made, this 4th day of April 2025, by the Court’s Appellate

              Case Management System upon the attorneys for the parties.


                                                               /s/Jeremiah L. Morgan
                                                             Jeremiah L. Morgan
                                                             Attorney for Amici Curiae
